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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
                        WESTERN DIVISION AT DAYTON

GREG DUGAS,                             : Case No. 3:21-cv-231
                                        :
       Plaintiff,                       : District Judge Michael J. Newman
                                        : Magistrate Judge Sharon L. Ovington
vs.                                     :
                                        :
CITY OF MORAINE OHIO, et al.,           :
                                        :
       Defendants.                      :


          NOTICE TO PRO SE PLAINTIFF OF MOTION TO DISMISS


      You are hereby notified that Defendants, Wal-Mart Stores East, LP, Jon Yaney

and Krissy Krznarich, filed a Motion to Dismiss on October 12, 2021. (Doc. No. 14).

You should receive a copy of the Motion directly from Defendants.

      Your response must be filed with the Court not later than November 5, 2021. If

you fail to file a timely response, Defendants’ Motion to Dismiss may be granted and

your case dismissed.

October 13, 2021                             s/Sharon L. Ovington
                                             Sharon L. Ovington
                                             United States Magistrate Judge
